
STOKER, Judge. '
This case was consolidated for trial and appeal with several suits one of which is Young v. Allen Parish School Board, 349 So.2d 469, which is being decided on this date.
For the reasons which we assigned in Young v. Allen Parish School Board, supra, we take the following action in this case. We affirm the judgment of the trial court insofar as it renders judgment in favor of plaintiff-appellee, Robert Cronan, against Allen Parish School Board and assesses court costs to the latter. However, the one judgment rendered and signed for all of the plaintiffs in the consolidated case (described in Young v. Allen Parish School Board, supra) granted the same form of decree to each plaintiff and ordered the total amount of salary to be paid for the year 1975-76, rather than awarding the difference in what was actually received and what should have been paid. The portion of the judgment in favor of the plaintiff in this suit, Robert Cronan, reads: “IT IS STILL FUR*478THER ORDERED, ADJUDGED AND DECREED that there be judgment herein in favor of plaintiff, Robert Cronan and against the Allen Parish School Board, ordering the Allen Parish School Board to pay unto Robert Cronan the salary of Eleven Thousand Six Hundred Eighty ($11,680.00 and No/100 Dollars for the 1975-76 school term together with legal interest from the date of judicial demand; . .
For the reasons given in the Young case we amend the trial court judgment with respect to the award. Accordingly, it is ordered, adjudged and decreed that there be judgment herein in favor of plaintiff, Robert Cronan, and against the Allen Parish School Board in the full sum of Eleven Thousand Six Hundred Eighty ($11,680.00) and No/100 Dollars, subject to a credit for all sums paid Robert Cronan as salary by defendant during the 1975-76 school term for Allen Parish, together with legal interest from date of judicial demand on the net amount due under this judgment, all costs of these proceedings in the trial court to be assessed against defendant, Allen Parish School Board, insofar as defendant may be legally cast for such costs.
All costs of this appeal are assessed to defendant-appellant insofar as it may be legally cast for such costs.
AMENDED AND AFFIRMED AS AMENDED.
CULPEPPER J., dissents and assigns written reasons in 5919.
HOOD, J., dissents for the reasons assigned by CULPEPPER, J.
